2:25-Cv-03783-DCN Date Filed 05/29/25 = Entry Number 6-1 Page 1 of 2

AFFIDAVIT OF SERVICE

State of South Carolina County of Charleston District Court

Case Number: 2:25-CV-03783-DCN

Plaintiff:
FORTRA LLC and ECRIME MANAGEMENT STRATEGIES INC. d/b/a
PHISHLABS

VS.

Defendant:
DOPPEL INC. and PATRICK LELAND

For:

Michael Oliver Eckard

Ogletree Deakins Nash Smoak & Stewart, P.C.
211 King St., Suite 200

Charleston, SC 29401

Received by PROCESS SERVICE, INC. to be served on PATRICK LELAND, 4495 CASHIERS LANE,
NORTH CHARLESTON, SC 29405.

I, John R. Gamble, being duly sworn, depose and say that on the 14th day of May, 2025 at 11:55 am, |:
PERSONALLY served by delivering a true copy of the SUMMONS, COMPLAINT (JURY TRIAL
REQUESTED), EXHIBITS 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, PLAINTIFF’°S ANSWER TO LOCAL CIVIL
RULE 26.01 INTERROGATORIES to: PATRICK LELAND at the address of: 4495 CASHIERS LANE,
NORTH CHARLESTON, SC 29405.

Description of Person Served: Age: 33, Sex: M, Race/Skin Color: WHITE, Height: 6'0", Weight: 180, Hair.

RED/BLONDE, Glasses: Y

John R. Gamble
PROCESS SERVER

| am over eighteen and have no interest in the above action.

Subscribed and Sworn to before me on the 14th day
of May, 2025 by the affiant who is personally known ROCESS SERVICE, INC.

to me. P.O. Box 20097

D Charleston, SC 29413
- LOSE (843) 577-2355

Me PUBLIC Our Job Serial Number: LEX-2025001188

PRINTED SIGNATURE

Commission Expires:

Stee 3 v3 /

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2:25-Cv-03783-DCN Date Filed 05/29/25 = Entry Number 6-1 Page 2 of 2

PROCESS SERVICE, INC. INVOICE Invoice #LEX-2025001188
P.O. Box 20097 , a 5/14/2025
Charleston, SC 29413

Phone: (843) 577-2355

Fax: (843) 577-5024

Fed Id: XX-XXXXXXX

Michael Oliver Eckard

Ogletree Deakins Nash Smoak & Stewart, P.C.
211 King St., Suite 200

Charleston, SC 29401

Case Number: Charleston 2:25-CV-03783-DCN

Plaintiff:
FORTRA LLC and ECRIME MANAGEMENT STRATEGIES INC. d/b/a PHISHLABS

Defendant:
DOPPEL INC. and PATRICK LELAND

Served: 5/14/2025 11:55 am
To be served on: PATRICK LELAND

ITEMIZED LISTING
Line liem Quantity Price Amount
Rush Fee 1.00 50.00 50.00
Service Fee (Standard Service Fee) — 1.00 125.00 125.00
TOTAL CHARGED: $175.00
BALANCE DUE: $175.00

Please note, starting February 2025, our standard Service Fee will increase to $125.00. Our Rush Fee will be an
additional $75. We appreciate your continued business.

Due upon receipt-Past Due after 30 days.
5% jate charge per monih on overdue accounis.
Please take note of our new mailing and email addresses. They are P.O. Box 20097, Charleston, SC 29413 and
processserviceinc@gmail.com

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